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 11   RON BENDER (SBN 143364)
      LINDSEY L. SMITH (SBN 265401)
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 33   Los Angeles, California 90067
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 44   Email: rb@lnbyb.com, lls@lnbyb.com
 55   Attorneys for Chapter 11 Debtor and Debtor in Possession
 66                          UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA
 77                                LOS ANGELES DIVISION
 88

 99
      In re:                                            Case No.: 2:19-bk-20332-BB
10
10                                                      Chapter 11 Case
      WEST COAST DISTRIBUTION, INC.,
11
11                                                      DECLARATION OF KHALID LEMLIH
                    Debtor and Debtor in Possession.    IN SUPPORT OF DEBTOR’S MOTION
12
12                                                      FOR AN ORDER: (1) APPROVING
                                                        SALE OF SUBSTANTIALLY ALL OF
13
13                                                      THE DEBTOR’S ASSETS FREE AND
14
14                                                      CLEAR OF ALL ENCUMBRANCES; (2)
                                                        APPROVING OF THE DEBTOR’S
15
15                                                      ASSUMPTION AND ASSIGNMENT OF
                                                        UNEXPIRED       LEASES      AND
16
16                                                      EXECUTORY     CONTRACTS     AND
                                                        DETERMINING CURE AMOUNTS
17
17
                                                        AND APPROVING OF THE DEBTOR’S
18
18                                                      REJECTION OF THOSE UNEXPIRED
                                                        LEASES     AND        EXECUTORY
19
19                                                      CONTRACTS WHICH ARE NOT
                                                        ASSUMED AND ASSIGNED; (3)
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20                                                      WAIVING    THE     14-DAY  STAY
21                                                      PERIODS     SET      FORTH    IN
21
                                                        BANKRUPTCY RULES 6004(h) AND
22
22                                                      6006(d); AND     (4)   GRANTING
                                                        RELATED RELIEF
23
23
                                                        Hearing Date, Time and Location:
24
24                                                      Date: November 20, 2019
25                                                      Time: 11:00 a.m.
25
                                                        Place: Courtroom 1539
26
26                                                             255 E. Temple Street
                                                               Los Angeles, CA 90012
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 11                              DECLARATION OF KHALID LEMLIH
 22          I, Khalid Lemlih, hereby declare as follows:
 33
             1.      I am over 18 years of age. I am the Vice President of Operations of West Coast
 44
      Distribution, Inc. (the “Debtor”), the debtor and debtor in possession in the above-captioned
 55
      chapter 11 bankruptcy case, a position I have held for the past approximately 15 years since the
 66

 77   inception of the Debtor.     I am the person in charge of the Debtor’s day-to-day business

 88   operations. I am the primary person at the Debtor who interfaces with current and prospective

 99   customers, and with suppliers, employee staffing companies and creditors. I am therefore very
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10
      familiar with the business operations of the Debtor. I do not have any ownership interest in the
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11
      Debtor. I have personal knowledge of the facts set forth below and, if called to testify, I would
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12
      and could competently testify thereto.
13
13
14           2.      I am familiar with the history, organization, operations and general financial
14
15
15    condition of the Debtor. I make this Declaration in support of the Debtor’s sale motion filed on

16
16    October 30, 2019 as Docket Number 115 (the “Sale Motion”).
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17           3.      On August 30, 2019, the Debtor commenced this bankruptcy case by filing a
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      voluntary petition for relief under chapter 11 of the Bankruptcy Code. Since the Petition Date,
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      the Debtor has operated its business and managed its affairs as a debtor in possession.
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             4.      Since 2005, the Debtor has been providing premier technology driven supply
21
21
22
22    chain management, logistics warehousing, fulfillment and 3PL distributions services to clients in

23
23    the apparel, retail, and lifestyle industries.   The Debtor has worked with a wide range of

24
24    established and rapidly growing brands. On behalf of those brands, the Debtor ships the brands’
25
25    inventory daily to retailers, such as Walmart, Target, JCPenney, Kohl’s, Neiman Marcus,
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26
      Macy’s, Bloomingdale’s, and Saks Fifth Avenue.
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 11          5.      The Debtor operates out of three huge leased warehouses located at (1) 2760
 22   Fruitland Avenue, Vernon, California 90058 (120,000 sf); (2) 2602 E. 37th Street Vernon, CA
 33
      90059 (171,000 sf); and (3) 12828 Carmenita Road, Santa Fe Springs, CA 90670 (268,000 sf).
 44
      The three warehouses are located within 10 miles of one another, which allows the Debtor to
 55
      reallocate employees to the particular warehouse that needs the labor at a moment’s notice.
 66

 77   The ability to staff each warehouse based upon the need on a particular day allows the Debtor

 88   to be extremely efficient and competitive within its industry. The total monthly rent for these

 99   three warehouse locations (one of which includes the Debtor’s business office) is
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      approximately $416,832.
11
11
             6.      The Debtor enters into agreements with its customers based upon each
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      customer’s needs. The services available to each customer include, but are not limited to,
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14    storing of inventory, fulfillment (shipping to various retailers as needed), and processing
14
15
15    returns from retailers.

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16           7.      The Debtor uses information technology in connection with its warehouse
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17    management system to streamline the process of automating, integrating, and tracking all
18
18
      activities performed within its facilities. The performed activities include services, such as
19
19
      receiving, put away, picking & packing, and shipping. The utilization of the system brings
20
20
      great efficiency and accuracy, which translates into better services and cost savings for the
21
21
22
22    Debtor’s clients.

23
23           8.      Each year through the Debtor’s product fulfillment center and finishing

24
24    facilities, the Debtor handles over 90 million garment units and 45 million flat folds for major
25
25    brands, totaling over $1 billion worth of merchandise annually. With this level of volume
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      being handled by the Debtor through three locations comprising nearly 560,000 square feet, the
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27
      Debtor’s business operations are substantial.
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 11            9.    The benefits of the Debtor’s information technology in warehousing for its
 22   customers include: having visibility into inventory, orders, customized reports, invoices, and
 33
      other data; having access to real-time information throughout each phase of the logistics
 44
      process; enjoying reduced costs, stemming from optimized efficiencies; and having an overall
 55
      competitive advantage in the marketplace due to an optimized supply chain. In other words, the
 66

 77   Debtor’s warehouse management system is helping the Debtor’s customers control inventory,

 88   view and manage all warehousing processes in real time, and reduce their overall logistics

 99   expenses, as they improve their own efficiency through the visibility that the Debtor provides.
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               10.   The Debtor’s principal assets consist of its cash on hand, its accounts receivable,
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      its agreements with its customers (described more below), the security deposits held by the
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      Debtor’s landlords and the Debtor’s leasehold interests held in connection with the leases of
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14    the warehouses out of which the Debtor operates. A detailed description of the Debtor’s
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15    assets, including the assets proposed to be sold (defined as the “Purchased Assets”) is set forth

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16    below.
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17             11.   The Debtor’s primary pre-petition liabilities consist of the approximately
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18
      $1,044,270.37 of secured debt owed to the Debtor’s principal, Jilal El Basri, and substantial
19
19
      amounts owed to the Debtor’s pre-petition staffing agencies, which supply (or supplied) most
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20
      of the Debtor’s employees. As discussed in more detail below, the overwhelming largest
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21
22
22    unsecured creditor is Workforce, which, as explained below, obtained a pre-petition judgment

23
23    against the Debtor in the amount of $4,255,370.44. As explained below, the Debtor also has a

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24    substantial amount of outstanding post-petition liabilities, the largest of which pertain to post-
25
25    bankruptcy credit provided to the Debtor by various staffing agencies.
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               12.   In 2015, the Debtor decided to expand its operations and customer base.
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      However, in doing so it grew too rapidly and the result was that although the Debtor’s quantity
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 11   increased, its quality in services rapidly declined. Originally, the Debtor believed that in
 22   expanding its business, even if it affected the Debtor’s quality of services, the expansion would
 33
      pay off in the long run. However, this strategy proved to fail when the Debtor’s customers started
 44
      to suffer and the Debtor accumulated large debts and started to run out of cash to finance the
 55
      growth. Employees were overworked and started to quit, customer service quality declined, and
 66

 77   warehouse space operated at close to 200% of the maximum capacity, which affected cost of

 88   goods sold. Furthermore, shipping errors started to accumulate, which resulted in chargebacks

 99   from customers that the Debtor had to absorb.
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             13.     During this time, the Debtor acquired many new customers. As a result, the
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11
      Debtor needed to increase its footprint by several hundred thousand square feet. In order to
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12
      accomplish this task, the Debtor had to re-invest its profits and borrow funds in order to finance
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14    its growth plan. The Debtor financed some of the growth through a loan, extended terms with
14
15
15    vendors, and capital contribution from its principals.

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16           14.     In late 2017, the Debtor lost some of its new customers. This loss coupled with
17
17    the debts incurred as a result of the Debtor’s attempted expansion left the Debtor in a situation
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      where the Debtor no longer had the new customer income to service its increased debt.
19
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      Ultimately, the Debtor came to the realization that its attempted growth plan was unsuccessful in
20
20
      terms of the projected revenue that had motivated the growth plan in the first place.
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21
22
22           15.     In 2018, the Debtor decided to consolidate some of its facilities by closing one of

23
23    its facilities located in Pico Rivera, which helped to stabilize the Debtor’s business and cash

24
24    flow. However, the Debtor remained behind on its payments, including on payments owed to its
25
25    staffing agencies that supply the majority of the Debtor’s labor force.
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26
             16.     On May 13, 2019, one of the Debtor’s staffing agencies, Workforce, obtained a
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27
      pre-petition judgment against the Debtor in the amount of $4,255,370.44 (the “Judgment”).
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 11   Thereafter, I understand that on July 18, 2019, Workforce recorded an abstract of Judgment with
 22   the Los Angeles Recorder’s Office, but did not record a notice of lien on account of the
 33
      Judgment with the California Secretary of State. Between the Judgment and the Debtor’s other
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      pre-petition debt, the Debtor did not have the ability to satisfy its pre-petition debt or to stop
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      legal pursuit of its creditors, a number of whom commenced pre-petition litigation. While the
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 77   Debtor believes that it has a viable business that will succeed long into the future, the Debtor has

 88   no financial ability to pay off its extensive current debt.

 99          17.      I believe that without a restructuring or significant reduction in the amount of the
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      Debtor’s current debt, the Debtor would be forced to shut down and liquidate its business, which
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      I believe would likely result in no distribution to the Debtor’s general unsecured creditors, cause
12
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      the loss of hundreds of jobs of the Debtor’s employees, and cause a massive disruption to the
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13
14    Debtor’s many customers and their businesses who rely substantially on the services provided by
14
15
15    the Debtor to them to enable them to get their product delivered to their customers. In order to

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16    protect its assets and operations, maintain and enhance the going concern value of the Debtor’s
17
17    business, and avoid a shut down and liquidation of the Debtor’s business, the Debtor filed its
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18
      bankruptcy case.
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19
             18.     The racking system located at the Santa Fe Springs warehouse location is not
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      owned by the Debtor, but, rather, is leased by the Debtor pursuant to an equipment lease with
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21
22
22    Wells Fargo Equipment Finance, Inc. That lease is personally guaranteed by the Debtor’s

23
23    principal.   It is my understanding that the current outstanding balance owing under that

24
24    equipment lease is approximately $465,857. A copy of that lease is attached hereto as Exhibit
25
25    “A”. While I assume that any buyer who desires to take an assignment of the Santa Fe Springs
26
26
      warehouse lease will also want to take an assignment of the corresponding Wells Fargo
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27
      equipment lease, I do not believe that this lease would have any independent value to any other
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 11   party. The racking system located at the E. 37th Street Vernon warehouse location is owned
 22   outright by the Debtor. It is an old racking system that I believe has negligible value. From my
 33
      own independent research of used racking systems, I believe that this racking system may have
 44
      current resale value of approximately $50,000 it if could be removed from the E. 37th Street
 55
      Vernon warehouse location (recognizing that one, the landlord may contend that they constitute
 66

 77   fixtures and may not be removed from the property, and, two, the cost of removing the racking

 88   system would be substantial).

 99          19.    The final assets of the Debtor of any significance that are not included in the
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10
      balance sheet are the customer contracts that the Debtor has with its current 42 customers.
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      Without customers (and a very high volume of customers given the Debtor’s massive overhead),
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      the Debtor has no business because servicing its customers is the Debtor’s sole source of
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13
14    revenue. However, the Debtor’s ability to retain its customers is solely and entirely dependent
14
15
15    upon the Debtor maintaining its business relationship with its customers and its customers

16
16    continuing to believe that the Debtor is able to properly service its customers’ needs. The
17
17    services provided by the Debtor to its customers is of absolutely critical importance to the
18
18
      Debtor’s customers because if the Debtor fails to package, ship and deliver its customers’
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      product on time to the correct location the impact upon the Debtor’s customers would be
20
20
      devastating. There is no real way to quantify the value of these customer contracts to any buyer
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22
22    of the Debtor’s assets because they only would have value if a buyer is able to persuade the

23
23    customers to continue doing business with them and doing business on terms which are

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24    profitable for the buyer. I am the primary representative of the Debtor that interfaces with and
25
25    has the personal relationship with the Debtor’s customers. Of course, I am always trying to land
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26
      new customers for the Debtor on profitable terms but landing any new customers while the
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      Debtor is in chapter 11 will be extremely difficult.      While the Debtor has an excellent
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 11   relationship (and typically a long-standing relationship) with its customers, those customers have
 22   made clear to me that they are concerned about the Debtor’s bankruptcy filing and want to see
 33
      the Debtor emerge from chapter 11 quickly. That is the primary reason why I believe that it is
 44
      critically important for the Debtor to consummate an asset sale by December 31, 2019 because
 55
      the beginning of each calendar year is when the Debtor would be most vulnerable for its
 66

 77   customers to leave and transfer their business to a competitor. That is why I believe that

 88   attempting to pursue a long and expensive plan of reorganization process, particularly one that is

 99   not overwhelmingly supported by the Debtor’s largest creditors, is not a viable economic option
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10
      as there is no way for me to know if its business could even survive such a process.
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             20.     For all of the reasons explained above, I have very serious concerns about the
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12
      viability of the Debtor’s ongoing business if the Debtor is not able to consummate an asset sale
13
13
14    by December 31, 2019 because I have no way of knowing if the Debtor will be able to retain its
14
15
15    customers – without which the Debtor has no business. Moreover, the Debtor is in the middle of

16
16    its strong season and therefore has adequate capital to operate its business (provided the Debtor
17
17    is able to retain its customers during this process). The first six months of 2020 are the Debtor’s
18
18
      slow season, and I believe that the Debtor is undercapitalized. I do not believe that it will be
19
19
      realistic for the Debtor to be able to obtain any additional funding during the Debtor’s
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20
      bankruptcy case with the Debtor’s current balance sheet, and there is a serious question as to
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21
22
22    whether the Debtor, without additional funding, will have sufficient working capital to survive

23
23    through the first six months of 2020.

24
24           21.     As a result, I believe that it is critically important for the Debtor to consummate a
25
25    sale of its assets by December 31, 2019, which is why the Debtor instructed its counsel to file the
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26
      sale procedures motion in the first place.      Given the fact that Sherwood Partners already
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27
      conducted a comprehensive sale process a number of months prior to the Debtor’s bankruptcy
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 11   filing and is now conducting another robust free and clear chapter 11 asset sale process, I am
 22   confident that the outcome of the current Auction sale process will result in the highest and best
 33
      price that is available in the marketplace for the Debtor’s assets.
 44
             22.     Depending upon the outcome of the Auction, of course, I believe that a free and
 55
      clear going concern sale of the Purchased Assets (provided a reasonably fair price is paid for
 66

 77   them) will be a significantly superior option to a shut down and liquidation of the Debtor’s

 88   business, and I am confident that the liquidation analysis being prepared by Sherwood Partners

 99   will support that conclusion. If there was a shut down and liquidation of the Debtor’s business,
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10
      there would be utter chaos for the Debtor’s customers who would have to figure out how to
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11
      relocate the massive amount of their merchandise at the Debtor’s three enormous warehouse
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12
      facilities, pay for that relocation and find a viable competitor who could quickly step in and
13
13
14    replace the Debtor. In my opinion, there can be no doubt that the Debtor’s customers would
14
15
15    offset all of their costs incurred in this process (and rightfully so) against any outstanding

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16    accounts receivable that they would owe the Debtor at that time, which I believe would likely
17
17    result in a zero recovery or close to it from the Debtor’s accounts receivable.
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18
             23.     For all of the reasons outlined above and in the concurrently filed Declaration of
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19
      Gladys Francisco, I believe that the balance of the Debtor’s assets would have negligible value in
20
20
      a shutdown and liquidation of the Debtor’s business. Since I understand that the Debtor’s cash
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22
22    would need to be used to satisfy the Debtor’s secured and/or post-petition debt, I do not believe

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23    that there would be any recovery whatsoever for unsecured creditors in a shut down and

24
24    liquidation of the Debtor’s business. I also do not believe that a more orderly and controlled
25
25    closing down of the Debtor’s business would yield any better result for the Debtor’s unsecured
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26
      creditors because the Debtor would need to maintain its massive overhead structure, including
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27
      employee staffing and rent to landlords (with such rent amounting to a total of approximately
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 11   $416,832 per month for the three warehouse locations and business office), to effectuate such an
 22   orderly and controlled closing down of the Debtor’s business while the Debtor’s customers
 33
      transition to a competitor of the Debtor’s in an orderly manner. I believe that the additional
 44
      overhead costs that the Debtor would have to incur during this process would offset any
 55
      additional payments the Debtor would receive from its customers on outstanding accounts
 66

 77   receivable which, as indicated, those customers would be unlikely to pay at all in a shut down

 88   and liquidation of the Debtor’s business.

 99          24.     I have no way of knowing at this time who the qualified bidders will be at the
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10
      Auction. My hope is that there will be multiple bidders who create a robust bidding process.
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11
      The only insider that I am aware of who might be a bidder at the Auction is the Debtor’s
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12
      principal, Jilali El Basri (“JEB”). Pursuant to the Sale Procedures Order, bidders are required to
13
13
14    become qualified bidders by November 15, 2019 in order to participate in the Auction on
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15
15    November 20, 2019. It is the intention of the Debtor to file a supplement to this Motion prior to

16
16    the Auction to update the Court, and I understand that it will be the responsibility of the Winning
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17    Bidder to demonstrate its good faith.
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             25.     For the Debtor’s part, I am not aware of any fraud, collusion or attempt to take
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19
      unfair advantage by any prospective bidder of any other bidders. Additionally, the current form
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20
      of the Template APA is the version that has been approved by the Court to be used as the
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21
22
22    Template APA and I understand that it includes the changes requested by the United States

23
23    Trustee and Workforce. I assume that each qualified bidder will provide its requested changes to

24
24    the Template APA. I assume that the Debtor’s negotiations with any prospective bidder over the
25
25    form and terms of the Template APA will be at arm’s length with all parties involved acting in
26
26
      good faith.
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 11          26.      JEB is the only creditor that I am aware of that assert any valid liens against any
 22   of the Purchased Assets, and JEB has advised the Debtor that he consents to the sale of the
 33
      Purchased Assets to the Winning Bidder free and clear of his Encumbrances provided his
 44
      Encumbrances are paid in full out of the sale proceeds or his Encumbrances attach to the sale
 55
      proceeds with the same validity, extent and priority as his pre-petition Encumbrances. The only
 66

 77   other lien holder that I am aware of is the abstract of judgment that I understand creditor

 88   Workforce recorded in the County Recorder’s office, but the Debtor does not own any real

 99   estate, and the Workforce abstract was recorded within 90 days of the date of the Debtor’s
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10
      bankruptcy filing which I understand makes it avoidable as a preference.
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             27.      For all of the reasons set forth above, I believe that selling the Purchased Assets
12
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      to the Winning Bidder in accordance with the timeline provided in the Template APA and the
13
13
14    Sales Procedures Order (unless the Winning Bidder and the Debtor agree otherwise and the
14
15
15    Court approves of it) is in the best interests of the Debtor’s estate and its creditors. I believe that

16
16    closing the Debtor’s sale of the Purchased Assets to the Winning Bidder as soon as the Winning
17
17    Bidder is able reduces the risk to this estate of the Debtor continuing in a bankruptcy case and
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18
      bear all of the uncertainties associated therewith.
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19
             28.     As a final point, I do wish to correct the record regarding a statement I previously
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      made in my declaration filed in support of the Debtor’s sale procedures motion. In paragraph 10
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22
22    of that Declaration, I stated that “The Debtor’s principal assets consist of its cash on hand, its

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23    accounts receivable, which total approximately $1.2 million, the security deposits held by the

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24    Debtor’s landlords and the Debtor’s leasehold interests held in connection with the leases of
25
25    the warehouses out of which the Debtor operates.” What I meant when I stated that the
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26
      Debtor’s accounts receivable “total approximately $1.2 million”, I was referring to what I
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27
      understood to be the Debtor’s average billed accounts receivable at any given point in time,
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     including the figures included in the Debtor's bankruptcy schedules as of August 30, 2019.
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     Since the conclusion of the hearing on the Debtor's sale procedures motion, I have spent
3
     significant time with the Debtor's controller, Gladys Francisco, and the Debtor's long time
 4
     outside accountant, Harold West of Fineman West Co. LLP, to make sure I fully understand
5
     how the Debtor's accounts receivable are booked and accounted for, all of which is explained in
 6
 7   detail in the concurrently filed Declaration of Gladys Francisco. I now understand that because

 8   this is the Debtor's busiest season, the Debtor's total accounts receivable - both billed and
 9   unbilled - at the time I filed my prior declaration was materially higher than the $1.2 million
10
     figure I stated in that Declaration, but I understood that figure to be correct at the time I signed
11
     that Declaration.
12
            I declare under penalty of perjury that the foregoing is true and correct to the best of my
13
14   knowledge.

15          Executed on this 30th day of October, 2019, at Los Angeles, Califo

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                    EXHIBIT "A"
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                                    PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 10250
Constellation Boulevard, Suite 1700, Los Angeles, CA 90017.

 A true and correct copy of the foregoing document entitled DECLARATION OF KHALID LEMLIH IN SUPPORT OF
 DEBTOR’S MOTION FOR AN ORDER: (1) APPROVING SALE OF SUBSTANTIALLY ALL OF THE DEBTOR’S
 ASSETS FREE AND CLEAR OF ALL ENCUMBRANCES; (2) APPROVING OF THE DEBTOR’S ASSUMPTION
 AND ASSIGNMENT OF UNEXPIRED LEASES AND EXECUTORY CONTRACTS AND DETERMINING CURE
 AMOUNTS AND APPROVING OF THE DEBTOR’S REJECTION OF THOSE UNEXPIRED LEASES AND
 EXECUTORY CONTRACTS WHICH ARE NOT ASSUMED AND ASSIGNED; (3) WAIVING THE 14-DAY STAY
 PERIODS SET FORTH IN BANKRUPTCY RULES 6004(h) AND 6006(d); AND (4) GRANTING RELATED RELIEF
 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b)
 in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On October
30, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Jessica L Bagdanov jbagdanov@bg.law, ecf@bg.law
       Ron Bender rb@lnbyb.com
       Beth Gaschen bgaschen@wgllp.com,
        kadele@wgllp.com;vrosales@wgllp.com;cbmeeker@gmail.com;cyoshonis@wgllp.com
       Richard H Golubow rgolubow@wcghlaw.com,
        pj@wcghlaw.com;jmartinez@wcghlaw.com;Meir@virtualparalegalservices.com
       David M Goodrich dgoodrich@wgllp.com, vrosales@wgllp.com;kadele@wgllp.com
       Deb Harris deb_harris@karney.net, deb.har3@outlook.com
       D Edward Hays ehays@marshackhays.com, 8649808420@filings.docketbird.com
       Jeffrey A Krieger jkrieger@ggfirm.com,
        kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com
       Kenneth G Lau kenneth.g.lau@usdoj.gov
       Matthew A Lesnick matt@lesnickprince.com, matt@ecf.inforuptcy.com;jmack@lesnickprince.com
       Tinho Mang tmang@marshackhays.com, 8444806420@filings.docketbird.com
       Catherine Schlomann Robertson crobertson@pahl-mccay.com, mle@pahl-mccay.com
       Ariella T Simonds asimonds@ktbslaw.com
       Lindsey L Smith lls@lnbyb.com, lls@ecf.inforuptcy.com
       Marcus Tompkins mtompkins@ygalaw.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Reed S Waddell rwaddell@frandzel.com, sking@frandzel.com
       Alan J Watson alan.watson@hklaw.com, rosanna.perez@hklaw.com

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On October 30, 2019, I will serve the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on October 30, 2019, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

SERVED BY PERSONAL DELIVERY
The Hon. Sheri Bluebond
United States Bankruptcy Court
255 E. Temple Street, Suite 1534 / Courtroom 1539
Los Angeles, CA 90012

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 30, 2019               Lourdes Cruz                                                    /s/ Lourdes Cruz
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
